               CaseCase:
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                                                             Filed: 10/28/2016
        UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT

                                             NOTICE OF DOCKETING

                                17-1118 - Oracle America, Inc. v. Google Inc.

Date of docketing: October 28, 2016

Appeal from: United States District Court for the Northern District of California case no. 3:10-cv-03561-WHA

Appellant: Oracle America, Inc.

Critical dates include:

    •   Date of docketing. See Fed. Cir. R. 12.
    •   Entry of appearance. (Due within 14 days of the date of docketing.) See Fed. Cir. R. 47.3.
    •   Certificate of interest. (Due within 14 days of the date of docketing.) See Fed. Cir. R. 47.4.
    •   Docketing Statement. (Due within 14 days of the date of docketing or within 30 days if the United States or
        its officer or agency is a party in the appeal.) [Only in cases where all parties are represented by counsel.
        See Fed. Cir. R. 33.1 and the mediation guidelines available at www.cafc.uscourts.gov.]
    •   Requests for extensions of time. See Fed. Cir. R. 26 and 27. N.B. Delayed requests are not favored by
        the court.
    •   Briefs. See Fed. Cir. R. 31. N.B. You will not receive a separate briefing schedule from the Clerk's
        Office. However, in a case involving an appellant, a cross-appellant, and an appellee, a special briefing
        schedule is used. The appellant's opening brief is due within 60 days of the date of docketing. The cross-
        appellant's opening brief is due within 40 days of filing of the appellant's opening brief. The appellee's brief is
        due within 40 days of filing of the cross-appellant's brief. The appellant's response/reply brief is due within 40
        days of filing of the appellee's brief. The cross-appellant's reply brief is due within 14 days of filing of the
        appellant's response/reply brief. The joint appendix is due within 10 days of filing of the cross-appellant's
        reply brief.
    •   Settlement discussions. See Fed. Cir. R. 33.
    •   ORAL ARGUMENT SCHEDULE CONFLICTS: Counsel should advise the clerk in writing within 30 days
        once briefing is completed of potential scheduling conflicts or as soon as they are known and should not wait
        until an actual conflict arises. Once scheduled, a case will not be postponed except on motion showing
        compelling reasons. See Practice Note following Fed. Cir. R. 34.

The official caption is reflected on the electronic docket under the listing of the parties and counsel. The Rules of
Practice and required forms are available at www.cafc.uscourts.gov.

Peter R. Marksteiner
Clerk of Court

cc: United States District Court for the Northern District of California
Peter A. Bicks
Robert A. Van Nest
